                Case 8:22-bk-11512-TA                      Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                      Desc
                                                           Main Document    Page 1 of 47
 Fill in this information to identify your case:


 United States Bankruptcy Court for the:

 CENTRAL DISTRICT OF CALIFORNIA

 Case number (ifknown)                                                         Chapter you are filing under:
                                                                               El Chapter 7
                                                                               0 Chapter 11
                                                                               Et Chapter 12
                                                                               ID Chapter 13                                  El Check if this is an
                                                                                                                                 amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 06/22
The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


 Part 1:   Identify Yourself



 1.   Your full name

      Write the name that is on
      your government-issued                                                                        First name
      picture identification (for
      example, your driver's        Jung
      license or passport).
                                    Middle name                                                     Middle name
      Bring your picture
      identification to your        Lee
      meeting with the trustee.     Last name and Suffix (Sr., Jr., II, Ill)                        Last name and Suffix (Sr., Jr., II, Ill)




 2.   All other names you have
      used in the last 8 years Jenny Han
      Include your married or
      maiden names.



 3.   Only the last 4 digits of
      your Social Security
      number or federal             xxx-xx-3163
      Individual Taxpayer
      Identification number
      (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
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Debtor 1    Jenny Jung Lee                            Main Document    Page 2 of 47Case number (ifknown)



                                                                                                        Di

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have
                              Ei I have not used any business name or EINs.                   0 I have not used any business name or EINs.
     used In the last 8 years

     Include trade names and     Business name(s)                                             Business name(s)
     doing business as names

                                 EIN                                                          EIN




5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                 2250 Vanguard Way Apt C215
                                 Costa Mesa, CA 92626
                                 Number, Street, City, State & ZIP Code                       Number, Street, City, State & ZIP Code


                                                                                              County

                                 If your mailing address is different from the one            If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any•   in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                      mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code             Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one                                                    Check one
     this district to file for
     bankruptcy                  1E3   Over the last 180 days before filing this petition,    O        Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any                have lived in this district longer than in any other
                                       other district.                                                 district.
                                 O     I have another reason.                                 O        I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                       page 2
              Case 8:22-bk-11512-TA                      Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                      Desc
Debtor 1    Jenny Jung Lee                               Main Document    Page 3 of 47Case number (ifknown)

Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under  EI Chapter 7
                                 D      Chapter 11
                                 O      Chapter 12
                                 El     Chapter 13



B.   How you will pay the fee    181     I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                 •         need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                          The Filing Fee in Installments (Official Form 103A).
                                 O       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. Bylaw, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1039) and file it with your petition.


9.   Have you filed for          El No.
     bankruptcy within the             Yes.
     last 8 years?
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number


10. Are any bankruptcy           El No
    cases pending or being       El Yes.
    filed by a spouse who is
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known


11. Do you rent your             0     No.     Go to line 12.
    residence?                   rg Yes.       Has your landlord obtained an eviction judgment against you?
                                               El        No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Jenny Jung Lee                            Main Document    Page 4 of 47Case number Ofknown)

Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      [81 No.     Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
    If you have more than one                  Number, Street, City, State 8, ZIP Code
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                       Check the appropriate box to describe your business:
                                               O      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               O      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               O      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               •      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               O      None of the above

13. Are you filing under      If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the         proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and      you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business cash-flow statement, and federal income tax return or if any of these documents do not exist, fdlow the procedure in 11 U.S.C.
    debtor or a debtor as     9.L1116(1)(13).
    defined by 11 U.S.C. §        No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small 0 No.          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                  Code.
    U.S.C. § 101(51D).

                                   El Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                    0 Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any         Ej No.
    property that poses or is      0 Yes.
    alleged to pose a threat
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,              Where is the property?
    or a building that needs
    urgent repairs?
                                                                           Number, Street, City, State & Zip Code




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Jenny Jung Lee                               Main Document    Page 5 of 47Case number (ifknown)
Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                    10-                   11011
15. Tell the court whether          You must check one:                                            You must check one:
    you have received a                 I received a briefing from an approved credit              O I received a briefing from an approved credit
    briefing about credit               counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                         filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                        certificate of completion.                                      completion.
    The law requires that you
    receive a briefing about             Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
    credit counseling before             plan, if any, that you developed with the agency.             any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check       El   I received a briefing from an approved credit             O   I received a briefing from an approved credit
    one of the following                 counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    choices. If you cannot do            filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
    so, you are not eligible to          a certificate of completion.                                  certificate of completion.
    file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
    If you file anyway, the court        petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
    can dismiss your case, you           payment plan, if any.                                         any.
    will lose whatever filing fee
    you paid, and your              ID   I certify that I asked for credit counseling              •   I certify that lashed for credit counseling services
    creditors can begin                  services from an approved agency, but was                     from an approved agency, but was unable to obtain
    collection activities again.         unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment an you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                    0    I am not required to receive a briefing about             O   I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                         O     Incapacity.                                             O    Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                         O     Disability.                                             O    Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the intemet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                         O     Active duty.                                            O    Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




 Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Jenny JUnq Lee                            Main Document    Page 6 of 47Case number (ifknown)
Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do       16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
    you have?                              individual primarily fora personal, family, or household purpose."
                                           0 No. Go to line 16b.
                                           23 Yes. Go to line 17.
                                16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           El No. Go to line 16c.
                                           0 Yes. Go to line 17.
                                16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under        Li No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that      El Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                     are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses               (23 No
     are paid that funds will
                                           0 Yes
     be available for
     distribution to unsecured
     creditors?

18. How many Creditors do       El 1-49                                          0 1,000-5,000                              0 25,001-50,000
    you estimate that you       0 50-99                                          0 5001-10,000                              El 50,001-100,000
    owe?                        El 100-199                                       0 10,001-25,000                            0 More than100,000
                                0 200-999

19. How much do you             E $0- $50,000                                   0 $1,000,001 -$10 million                   Li $500,000,001 -$1 billion
    estimate your assets to     Li $50,001 -$100,000                            El $10,000,001 -$50 million                 El $1,000,000,001 -$10 billion
    be worth?                   El $100,001 -$500,000                           0 $50,000,001 -$100 million                 D $10,000,000,001 -$50 billion
                                D $500,001 - $1 million                         0 $100,000,001 -$500 million                0 More than $50 billion

20. How much do you             0 so- $50,000                                    0   $1,000,001 - $10 million               0 $500,000,001 -$1 billion
    estimate your liabilities      $50,001 -$100,000                             0   $10,000,001 -$50 million               0 $1,000,000,001 -$10 billion
    to be?                      0 5100,001 -$500,000                             0   $50,000,001 -$100 million              0 $10,000,000,001 -$50 billion
                                0 $500,001 - $1 million                          0   $100,000,001 -$500 million             0 More than $50 billion

Part 7:    Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, If eligible, under Chapter 7, 11,12, or 13 of title 11,
                                United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                bankruptcy case                nes up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                and 3571.

                                Jenny Jung Lee                                                    Signature of Debtor 2
                                Signature of Debtor 1

                                Executed on      irpi ivoz                                        Executed on
                                                mmiDD pYY
                                                 0
                                                       YY                                                         MM / DD / YYYY




 Official Form 101                          Voluntary Petition for Individuals riling for Bankruptcy                                                     page 6
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Debtor 1   Jenny Jung Lee                                 Main Document    Page 7 of 47Case number (ifknown)



For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the s h dules filed wit he petition is incorrect.
to file this page.
                                                                                                   Date
                                Signature of Attorn y for Debtor                                               MM / DD / YYYY

                                Karina Karadjian 283656
                                Printed name

                                Karina Karadjian
                                Firm name

                                14640 Victory Blvd. #221
                                Van Nuys, CA 91411
                                Number, Street, City, State & ZIP Code

                                Contact phone    (323)426-8300                               Email address       karine@kelawfirm.com
                                283656 CA
                                Bar number & state




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
     against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
     corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
     and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
     assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
     included in Schedule A/B that was filed with any such prior proceeding(s).)
 On 05/29/2014 Debtor filed a Chapter 7 in the Central District of CA bearing case number 8:14-bk-13360-ES. Said case was
 discharged 09/15/2014.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
    Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
    debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
    debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
    complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
    and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
    any real property included in Schedule NB that was filed with any such prior proceeding(s).)
 None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
    previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
    of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
    of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
    or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
    such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
    still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
    A/B that was filed with any such prior proceeding(s).)
 None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
    been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
    proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
    pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule NB
    that was filed with any such prior proceeding(s).)
 None

I declare, under penalty of perjury, that the foregoing is true and correct
Executed at      Costa Mesa, CA                                    , California.

                                                                                                     Jenny Jung Lee
Date:             oz 31(3°29-                                                                        Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
               Case 8:22-bk-11512-TA                        Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                  Desc
 Fill in this information to identify your case:
                                                            Main Document    Page 9 of 47
 Debtor 1                Jenny Jung Lee
                         First Name                       Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name           Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                       El   Check if this is an
                                                                                                                                       amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Far! 1:       Summarize Your Assets




 1.     Schedule A/13: Property (Official Form 106A/B)
        Ia. Copy line 55, Total real estate, from Schedule NB                                                                                                0.00

        lb. Copy line 62, Total personal property, from Schedule NB                                                                                  28,900.00

        1c. Copy line 63, Total of all property on Schedule NB                                                                                       28,900 00

 Part 2        Summarize Your Liabilities




 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                        14,000.00

 3.     Schedule ELF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line Be of Schedule E/F                                                       0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                            44,068.00


                                                                                                         Your total liabilities                   58,068.00


 Part 3:       Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I                                                                                   2,400.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J                                                                                         2,990.00

 Part 4:       Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

       El Yes
 7.    What kind of debt do you have?

        El     Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or household
               purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       El   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
            court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
Software Copyright (c) 1996-2022 Best Case, LW. www.bestcasa.com                                                                            Best Case Bankruptcy
            Case 8:22-bk-11512-TA                            Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                       Desc
 Debtor 1      Jenny Jung Lee                                Main Document    PageCase
                                                                                   10number
                                                                                       of 47(if known)
 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                   400.17


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



       9a. Domestic support obligations (Copy line 6a.)

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

       9c. Claims for death or personal injury while you were intoxicated. (Copy fine 6c.)

       9d. Student loans. (Copy line 6f.)

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                                   0

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                                 0


       9g. Total. Add lines 9a through 9f.




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information              page 2 of 2
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              Case 8:22-bk-11512-TA               Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                                  Desc
                                                 Main     Document
 Fill in this information to identify your case and this filing:   Page 11 of 47
 Debtor 1                 Jenny Jung Lee
                          First Name                       Middle Name                     Last Name
 Debtor 2
 (Spouse, if filing)      First Name                       Middle Name                    Last Name

 United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                fl     Check if this is an
                                                                                                                                                   amended filing



Official Form 106A/B
Schedule NB: Property                                                                                                                             12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

I.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

     El No. Go to Part 2.
     0 Yes. Where is the property?


 Part 2     Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     0 NO
     Ei Yes
                                                                                                                  Do not deduct     tired clatnis or exemptions, Put
     3.1   Make:       Toyota                                 Who has an interest in the property? Check one      ttie amount or any secUred claims eh Schedule P.
           Model:     Prius                                         Debtor 1 only                                 Creditors Who Have OOPS Secured by Property
           Year:      2017                                    El Debtor 2 only                                    Current value of the       Current value of the
           Approximate mileage:              114000           0 Debtor 1 and Debtor 2 only                        entire property?           portion you own?
           Other information:                                 o  At least one of the debtors and another

                                                              o Check if this is community property                       $16,000.00                    $16,000.00
                                                                 (see instructions)



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     IN No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   pages you have attached for Part 2. Write that number here                                                                                        $16,000.00


 Part 3     Describe Your Personal and Household Items
 Doy             KO                         (tunable Ins                 ny         off   a   ri                                           at     ent value of the
                                                                                                                                                 Roe you     et
                                                                                                                                                 lot decuct cured
                              . .                                                                                                                is or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
      No
   ER Yes. Describe
Official Form 106A/B                                                       Schedule NB: Property                                                                page 1
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 Debtor 1        Jenny Jung Lee                             Main Document    Page 12 of 47
                                                                                         Case number (if known)

                                    Misc. furniture and appliances                                                                                  $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
             including cell phones, cameras, media players, games
   El No
   0 Yes. Describe
                             TV, phone, computer, misc. electronics                                                                          $2,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
   El No
      Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   (21 No
   9 Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     No
     Yes. Describe
                           Misc. clothing and shoes                                                                                                $1,500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
   9 No
     Yes. Describe
                          Misc. jewelry                                                                                                            $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   El No
   9 Yes. Describe.....

14. Any other personal and household Items you did not already list, including any health aids you did not list
   Ei No
   9 Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here                                                                                                       $7,000.00


          Describe Your Financial Assets
                                                                                                                                  MiiffOOti*SfleiPf
                                                                                                                                         -SSC
                                                                                                                                           1eductectir
                                                                                                                                  ' dalms mill.pxefllptlon
                                                                                                                                  1

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes
                                                                                                 Cash                                                 $500.00




Official Form 106A/B                                                Schedule NB: Property                                                                page 2
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 Debtor 1        Jenny Jung Lee                              Main Document    Page 13 of 47
                                                                                          Case number (ifknown)
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
              institutions. If you have multiple accounts with the same institution, list each.
   D No
   El Yes                                                        Institution name:


                                       17.1.    Checking                  Bank of America                                                      $2400.00

18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   [81 No
       Yes                         Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
   El No
   D Yes. Give specific information about them
                               Name of entity:                                          % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   El No
   El Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   IS] No
       Yes. List each account separately.
                               Type of account:                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   El No
   El Yes.                                                    Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   EI No
   El Yes               Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
   DI Yes                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   E No
   El Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   12:1 No
   El Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   El No
      Yes. Give specific information about them...

Ivinneir or property




Official Form 106A/B                                                  Schedule NB: Property                                                         page 3
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            Case 8:22-bk-11512-TA                           Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                               Desc
 Debtor 1        Jenny Jung Lee                             Main Document    Page 14 of 47
                                                                                         Case number (if known)
28. Tax refunds owed to you
   D No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Anticipated 2022 tax refunds                         Federal and state                   $3,000.00


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   El No
      Yes. Give specific information


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
   E No
   D Yes. Give specific information..
31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   El No
   ID Yes. Name the insurance company of each policy and list its value.
                                  Company name:                                           Beneficiary:                               Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
   El No
   0 Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   E No
   D Yes. Describe each claim
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
   E No
   0 Yes. Describe each claim

35. Any financial assets you did not already list
   El No
   D Yes. Give specific Information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                                                       $5,900.00


 Part 5    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   [S] No. Go to Pan 6.
   fl Yes. Go to line 38.

 Part 6    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an Interest In farmland, list it In Part 1.

46. Do you own or have any legal or equitable interest in any farm-or commercial fishing-related property?
    rgl No. Go to Part 7.
    0 Yes. Go to line 47.


 Part 7:        Describe All Property You Own or Have an Interest In That You Did Not List Above




Official Form 106A/B                                                 Schedule A/B: Property                                                             page 4
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             Case 8:22-bk-11512-TA                           Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                        Desc
  Debtor 1        Jenny Jung Lee                             Main Document    Page 15 of 47
                                                                                          Case number (if known)


 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    S No
    0 Yes. Give specific information.........

  54. Add the dollar value of all of your entries from Part 7. Write that number here                                                       $0.00


  Part 8:       List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2                                                                                                        $0.00
  56. Part 2: Total vehicles, line 5                                                   $16,000.00
  57. Part 3: Total personal and household items, line 15                               $7,000.00
  58. Part 4: Total financial assets, line 36                                           $5,900.00
  59. Part 5: Total business-related property, line 45                                       Moo
  60. Part 6: Total farm- and fishing-related property, line 52
  61. Part 7: Total other property not listed, line 54                                       Moo

  62. Total personal property. Add lines 56 through Si...                              $28,900.00   Copy personal property total        $28,900.00

  63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                    $28,900.00




Official Form 106A/B                                                 Schedule NB: Property                                                     page 5
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 Fill in this information to identify your case:
                                                            Main Document    Page 16 of 47
 Debtor 1                 Jenny Jung Lee
                          First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
  Of known)                                                                                                                         0   Check if this is an
                                                                                                                                        amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      IS You are claiming state and federal nonbankruptcy exemptions.              11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions.               11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule AM that you claim as exempt, fill in the information below.




     2017 Toyota Prius 114000 miles                                  $16,000.00    El                          $2,000.00      C.C.P. § 703.140(b)(2)
     Line from Schedule NB: 3.1
                                                                                   O       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc. furniture and appliances                                    $2,000.00   [El                         $2,000.00      C.C.P. § 703.140(b)(3)
     Line from Schedule NB: 6.1
                                                                                   O       100% of fair market value, up to
                                                                                           any applicable statutory limit

     TV, phone, computer, misc. electronics
     Line from Schedule NB: 7.1
                                                                       $2,000.00   :31                         $2,000.00      C.C.P. § 703.140(6)(3)

                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc, clothing and shoes                                          $1,500.00   lEj                        $1,500.00       C.C.P. § 703.140(b)(3)
     Line from Schedule NB: 11.1
                                                                                   o       um% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc. jewelry                                                     $1,500.00   [0                         $1,500.00       C.C.P. § 703.140(b)(4)
     Line from Schedule NB: 12.1
                                                                                   O      100% of fair market value, up to
                                                                                          any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                   page 1 of 2
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                                                            Main Document    Page 17 of 47
  Debtor 1    Jenny Jung Lee                                                                         Case number (If known)




      Cash                                                            $500.00    El                            $500.00        C.C.P. § 703.140(b)(5)
      Line from Schedule NB: 16.1
                                                                                 •       100% of fair market value, up to
                                                                                         any applicable statutory limit

      Bank of America                                                $2,400.00   IE                          $2,400.00        C.C.P. § 703.140(b)(5)
      Line from Schedule NB           7.1
                                                                                 O       100% of fair market value, up to
                                                                                         any applicable statutory limit

      Anticipated 2022 tax refunds                                   $3,000.00       j                       $3,000.00        C.C.P. § 703.140(b)(5)
      Line from Schedule NB: 28.1
                                                                                 O       100% of fair market value, up to
                                                                                         any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
     1:81 No
      0      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
             O     No
             O     Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 2 of 2
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               Case 8:22-bk-11512-TA                          Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                              Desc
                                                              Main Document    Page 18 of 47
 Fill in this information to identify your case:

 Debtor 1                     Jenny Jung Lee
                              First Name                      Middle Name                         Last Name
 Debtor 2
 (Spouse if, filing)          First Name                      Middle Name                         Last Name


 United States Bankruptcy Court for the:                CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                      ID Check if this is an
                                                                                                                                                    amended filing


Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
       0     No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       IS Yes. Fill in all of the information below.
11=1111 List All Secured Claims
 2. Llet    40fr.secured claims, if 'i cedi


 2.1       Toyota Motor Credit                       Describe the property that secures the claim:
           Creditors Name                            2017 Toyota Prius 114000 miles



                                                    As of the date you file, the claim is: Check all that
           2600 Michelson Dr                        apply.
           Irvine, CA 92612                         1:1 Contingent
           Number, Street, City, State & Zip Code   El Unliguidated
                                                    ID Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
 1:81 Debtor 1 only                                 Igl An agreement you made (such as mortgage or secured
 El Debtor 2 only                                        car loan)
      Debtor 1 and Debtor 2 only                    1:1 Statutory Ilen (such as tax lien, mechanic's lien)
 El At least one of the debtors and another         1:1 Judgment lien from a lawsuit
 0 Check if this claim relates to a                 El Other (including a right to offset)
       community debt

 Date debt was incurred            2020                      Last 4 digits of account number            0001



   Add the dollar value of your entries in Column A "this pago. Write that number                                              $14,000.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                     $14,000.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed

                x4.0 only if you havo at              oti                   1Thoeruptoyforedoeti:tb             already listed ieP Ill. i-ore
                oliectfrom
                      ....... you                    e to,                  list the creditor In ', Art d,     hen lial the collect       ntY;     lomat you have me
                rediter for allyctt glil            ree                         the additionalcredito                               additional      to   notified for
                               fill out r submit




Official Form 1060                                  Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
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 Fill in this information to identify your case:
                                                             Main Document    Page 19 of 47
 Debtor 1                 Jenny Jung Lee
                          First Name                         Middle Name                     Last Name
 Debtor 2
 (Spouse If, filing)      First Name                         Middle Name                     Last Name

 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                    111    Check if this is an
                                                                                                                                                      amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim, Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060), Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 I.    Do any creditors have priority unsecured claims against you?
       El No. Go to Part 2.
       0 Yes.

 Part 2:         List All of Your NONPRIORITY Unsecured Claims
 3. Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part Submit this form to the court with your other schedules.
       21 Yes.
               of ye4r nonprionty
           all                            tired sJatns Iii                               he Grad         ho    1s each cl                  more      pahavrios
            orad                                                                         'dx CCII                 a                       afrady        kitParkin
                practior hot              t cteini listThe 0th                            ha                      nffilP,                    oul the   eatitKiNahROM

 4.1         Capital One Bank USA NA                                 Last 4 digits of account number
            Nonpnority Creditor's Name
            PO Box 31293                                             When was the debt incurred?              2016
             Salt Lake City, UT 84131
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            cm  Debtor 1 only                                       1:1 Contingent
            El Debtor 2 only                                        1:1 Unliguidated
            o   Debtor 1 and Debtor 2 only                          o   Disputed
             0 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:
             0 Check if this claim is for a community               El Student loans
            debt                                                    0 Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                         report as priority claims
            0 NO                                                    0   Debts to pension or profit-sharing plans, and other similar debts
            0 Yes                                                   (81 Other. Specify   Credit card purchases




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 3
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 Debtor 1 Jenny Jung Lee                                     Main Document    Page 20
                                                                                   Caseof 47 or known)
                                                                                        number

           Capital One Bank USA NA                                   Last 4 digits of account number                                                            $9,431.00
           Nonpriority Creditor's Name
           PO Box 31293                                              When was the debt incurred?           2018
           Salt Lake City, UT 84131
           Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
           Who incurred the debt? Check one.
            Vs1 Debtor 1 only                                        0 Contingent
            0 Debtor 2 only                                          0 Unliguidated
            0 Debtor 1 and Debtor 2 only                             0 Disputed
            0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
            0 Check If this claim is for a community                 0 Student loans
           debt                                                      1:1 Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
                No                                                   0 Debts to pension or profit-sharing plans, and other similar debts
           0 Yes                                                     El Other. Specify Credit card purchases


 4.3       Freedom Road Financial                                    Last 4 digits of account number                                                           $6,000.00
           Nonpriority Creditor's Name
           10509 Professional Cir #100                               When was the debt incurred?           2020
           Reno, NV 89521
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
           I24 Debtor 1 only                                         0 Contingent
           0 Debtor 2 only                                           o Unliguidated
            0 Debtor 1 and Debtor 2 only                             0 Disputed
           ID At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
           0 Check if this claim is for a community                  0 Student loans
           debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
           Lg  No                                                    0 Debts to pension or profit-sharing plans, and other similar debts
           O Yes                                                     El Other. Specify   Motorcycle deficiency (Yamaha)


[4.4 I     Mechanics Bank FKA CRB                                    Last 4 digits of account number       1001                                              $12,922.00
           Nonpriority Creditors Name
           1400 Newport Center Drive Suite 150                       When was the debt incurred?           2019-2020
           Newport Beach, CA 92660
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            1:81 Debtor 1 only                                       0 Contingent
           O Debtor 2 only                                           0 Unliguidated
            0 Debtor 1 and Debtor 2 only                             0 Disputed
            0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
            o Check if this claim is for a community                 0 Student loans
           debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims
           El No                                                     0 Debts to pension or profit-sharing plans, and other similar debts
           0 Yes                                                     im Other. Specify Auto deficiency

 Part 3:        List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, If a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
  typo of unsecured claim.


                        6a.   Domestic support obligations                                                 6a.

                        6b.   Taxes and certain other debts you owe the government                         6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00

Official Form 106 EiF                                   Schedule EfF: Creditors Who Have Unsecured Claims                                                        Page 2 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestoese.com                                                                                        Best Case Bankruptcy
             Case 8:22-bk-11512-TA                           Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                        Desc
  Debtor 1 Jenny Jung Lee                                    Main Document    Page 21
                                                                                   Caseof 47 (if known)
                                                                                        number

                        60.   Total Priority. Add lines 6a through 6d.                               6e.                    0.00

                                                                                                            !Tetarelaite,
                        6f.   Student loans                                                          61.                    0.00
                        6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                  6g.                    0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts      6h.                    0.00
                        61.   Other. Add all other nonpriority unsecured claims. Write that amount   Si.
                              here.                                                                                   44,068.00

                        6j.   Total Nonpriority. Add lines 6f through Si.                            6j.              44,068.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 3 of 3
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             Case 8:22-bk-11512-TA                  Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                     Desc
 Fill in this information to identify your case:
                                                    Main Document    Page 22 of 47
 Debtor 1                 Jenny Jung Lee
                          First Name                Middle Name                 Last Name
 Debtor 2
 (Spouse if, tiling)      First Name                Middle Name                 Last Name

 United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                   fl   Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        EI No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        P Yes. Fill in all of the information below even lithe contacts of leases are listed on Schedule NB:Property (Official Form 106 NB).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.




  2.1
          Name


          Number       Street

          City                              State             ZIP Code
  2.2
          Name


          Number       Street

          City                              State             ZIP Code
  2.3
          Name


          Number       Street

          City                              State             ZIP Code
  2.4
          Name


          Number       Street

          City                              State             ZIP Code
  2.5
          Name


          Number       Street

          City                              State             ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 8:22-bk-11512-TA                                Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                          Desc
 Fill in this information to identify your case:
                                                                   Main Document    Page 23 of 47
 Debtor 1                     Jenny Jung Lee
                              First Name                           Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)          First Name                           Middle Name          Last Name


 United States Bankruptcy Court for the:                   CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                       ID Check if this is an
                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      El No
         Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories Include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
      El Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                El No
                   Yes.

                         In which community state or territory did you live?            -NONE-         . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3.1n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1060). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

                 o4imn 1. Yocurcodehor                                                                 Column Z The creitorto wflo
                                               te,and                                                  Check all sChedules that apply:

                                                                                                       Li Schedule D, line
                Name
                                                                                                       o Schedule E/F, line
                                                                                                       ID Schedule G, line

                Number              Street
                City                                       State                        ZIP Code




                Name                                                                                   ID Schedule D, line
                                                                                                       El Schedule E/F, line
                                                                                                       El Schedule G, line
                Number              Street
               City                                        State                        ZIP Code




Official Form 10611                                                                Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (0)1996.2022 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case 8:22-bk-11512-TA                  Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                      Desc
                                                  Main Document    Page 24 of 47

 Fill in this information to identify our case:

 Debtor 1                    Jenny Jung Lee

 Debtor 2
 (Spouse, Wiling)

 United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                             Check if this is:
 titImmo                                                                                                 0 An amended filing
                                                                                                         0 A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

 Official Form 1061                                                                                          MM / DD/ YYYY
 Schedule I: Your Income                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:            Describe Employment

 1.    FIll in your employment
       Information.
       If you have more than one job,       Employment status       [2] Employed                               0 Employed
       attach a separate page with
       information about additional                                 0 Not employed                             0 Not employed
       employers.
                                            Occupation
       Include part-time, seasonal, or                              real estate agent
       self-employed work.
                                                                    EXP Realty Brokerage PUR
       Occupation may include student       Employer's name         Group
       or homemaker, if it applies.
                                            Employer's address
                                                                    2390 E Orangewood Ave #400
                                                                    Anaheim, CA 92806

                                            How long employed there?           4 months

 Part 2:            Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.




      List monthly gross wages, salary, and commissions (before all payroll
2.    deductions). If not paid monthly, calculate what the monthly wage would be.            2.    $          400.00      $               N/A

3.    Estimate and list monthly overtime pay.                                                3.   +$             0.00     +$              N/A

4.    Calculate gross Income. Add line 2 + line 3.                                          4.     $       400.00                       N/A




Official Form 1061                                                      Schedule I: Your Income                                                  page 1
            Case 8:22-bk-11512-TA                Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                    Desc
                                                 Main Document    Page 25 of 47
 Debtor 1    Jenny Jung Lee                                                                     case number (if known)




      Copy line 4 here                                                                                                               N/A

 5.   List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                               5a.     $              0.00     $           N/A
      5b.    Mandatory contributions for retirement plans                                5b.     $              0.00     $           N/A
      Sc.    Voluntary contributions for retirement plans                                50.     $              000      $           N/A
      5d.    Required repayments of retirement fund loans                                5d.     $              0.00     $           N/A
      5e.    Insurance                                                                   5e.     $              0.00     $           N/A
      5f.    Domestic support obligations                                                51.     $              0.00     $           N/A
      5g.    Union dues                                                                  5g.     $              0.00     §           N/A
      5h.    Other deductions. Specify:                                                  5h.+    $              0.00 +   $           N/A
 6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                     6.      $              0.00     $           N/A
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.     $            400.00      $           N/A
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                          8a.     $              0.00     $           N/A
      8b. Interest and dividends                                                         8b.     $              0.00     $           N/A
      Bc. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                         8c.     $              0.00     $           N/A
      Bd. Unemployment compensation                                                      8d.     $              0.00     $           N/A
      Be. Social Security                                                                Be.     $              0.00     $           N/A
      8f.    Other government assistance that you regularly receive
            Include cash assistance and the value of known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                    81.  $               0.00   $               N/A
      8g. Pension or retirement income                                                   8g. $                0.00   $               N/A
      8h. Other monthly income. Specify. Parents (gift) financial support                8h.+ $           2,000.00 + $               N/A

 9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                           9.               2,000.00                       N/A


 10. Calculate monthly income. Add line 7 + line 9.                                   10. $          2,400.00                N/A     $         2,400.00
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
     other friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scheduled.
     Specify:                                                                                                                 11. +$               0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                 12.               2,400.00
                                                                                                                                   Combined
                                                                                                                                   monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          Na
    El    Yes. Explain: Debtor's income was used by calculating an average of 6 months. Her income is solely dependent on
                          commissions and work has been slow. Her parents are supporting her financially in the meantime until she
                          gets back on her feet.




Official Form 1061                                                     Schedule I: Your Income                                                 page 2
         Case 8:22-bk-11512-TA                       Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                       Desc
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 Fill in this information to identify your case:

 Debtor 1              Jenny Jung Lee                                                                         Check if this is:
                                                                                                             El   An amended filing
 Debtor 2                                                                                                    El   A supplement showing postpetifion chapter 13
 (Spouse, if filing)                                                                                              expenses as of the following date:

 United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA                                             MM! DD / YYYY

 Case number
 (If known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                               12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:   Describe Your Household
 1. Is this a joint case?
      El No. Go to line 2.
      El Yes. Does Debtor 2 live in a separate household?
                 El No
                 0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2.    Do you have dependents? El No•
       Do not list Debtor 1 and            El Yes.   Fill out this information for   Dependent's relationship to         Dependent's    Does dependent
       Debtor 2.                                     each dependent                  Debtor 1 or Debtor 2                a e            live with out
       Do not state the                                                                                                                 El No
       dependents names.                                                                                                                El Yes
                                                                                                                                        0 No
                                                                                                                                        El Yes
                                                                                                                                        El No
                                                                                                                                        CI Yes
                                                                                                                                        0 No
                                                                                                                                        El Yes
 3.    Do your expenses include                 El No
       expenses of people other than            5 Yes
       yourself and your dependents?

Part 2:   Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule Your Income
(Official Form 1061.)

4.     The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                                          4. $                         1,550.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.    $                           0.00
      4b. Property, homeowner's, or renter's insurance                                                      4b.    $                           0.00
      4c. Home maintenance, repair, and upkeep expenses                                                     40.    $                           0.00
      4d. Homeowner's association or condominium dues                                                       4d.    $                           0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                           0.00

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                    6a.    $                         40.00
      6b. Water, sewer, garbage collection                                                                  6b.    $                          0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                    Sc.    $                        105.00
      6d. Other. Specify:                                                                                   6d.    $                          0.00

Official Form 106J                                                    Schedule J: Your Expenses                                                          page 1
         Case 8:22-bk-11512-TA                       Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                               Desc
                                                     Main Document    Page 27 of 47
 Debtor 1     Jenny Jung Lee                                                                            Case number (if known)

 7.    Food and housekeeping supplies                                                                                                               500.00
 8.    Childcare and children's education costs                                                                                                       0.00
 9.    Clothing, laundry, and dry cleaning                                                                                                           40.00
 10.   Personal care products and services                                                                                                           50.00
 11.   Medical and dental expenses                                                                                                                    0.00
 12.   Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                                                   250.00
 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                                              50.00
 14. Charitable contributions and religious donations                                                                                                 0.00
 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
     15a. Life insurance                                                                                     15a.   $                                  0.00
     15b. Health insurance                                                                                   15b.   $                                  0.00
     15c. Vehicle insurance                                                                                  15c.   $                                 50.00
     15d. Other insurance. Specify:                                                                          15d.   $                                  0.00
 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 ar 20.
     Specify:                                                                                                 16. $                                    0.00
 17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                         17a.   $                               355.00
     17b. Car payments for Vehicle 2                                                                         17b.   $                                 0.00
     17c. Other. Specify:                                                                                    17c.   $                                 0.00
     17d. Other. Specify:                                                                                    17d.   $                                 0.00
 18. Your payments of alimony, maintenance, and support that you did not report as
     deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).                          18.                                      0.00
 19. Other payments you make to support others who do not live with you.                                                                               0.00
     Specify:                                                                               19.
 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income,
     20a. Mortgages on other property                                                     20a. $                                                       0.00
     20b. Real estate taxes                                                               20b. $                                                       0.00
     20c. Property, homeowner's, or renter's insurance                                    20c. $                                                       0.00
     20d. Maintenance, repair, and upkeep expenses                                                           20d. $                                    0.00
     20e. Homeowner's association or condominium dues                                                        20e. $                                    0.00
 21. Other: Specify:                                                                                          21. +$                                   0.00
 22. Calculate your monthly expenses
     22a. Add lines 4 through 21.                                                                                                              2,990.00
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
     22c. Add line 22a and 22b. The result is your monthly expenses.                                                                          2,990.00
 23. Calculate your monthly net income.
     23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                              2,400.00
     23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                             2,990.00
       23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                                 -590.00
 24. Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
       modification to the terms of your mortgage?
       [8:1 No.
       0 Yes.             Explain here:




Official Form 106.1                                                 Schedule J: Your Expenses                                                                      page 2
              Case 8:22-bk-11512-TA                         Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                     Desc
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 Fill in this information to identify your case:

 Debtor 1                 Jenny Jung Lee
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, Thing)       First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                        liii   Check if this is an
                                                                                                                                          amended filing



Official Form 106Dec
 Declaration About an Individual Debtor's Schedules                                                                                                             12115

If two married people are filing together, both are equally responsible for supplying correct information.

You must Me this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       El      No
       El      Yes. Name of person                                                                               Attach Bankruptcy Petition Preparers Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true

       X                                                                             X
              Jenny Jung Lee                                                             Signature of Debtor 2
              Signature of Debtor 1

              Date          ogRi0-8012-                                                  Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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              Case 8:22-bk-11512-TA                         Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                        Desc
                                                            Main Document    Page 29 of 47


 Fill in this information to identify your case:

 Debtor 1                 Jenny Jung Lee
                          First Name                        Middle Name                   Last Slane

 Debtor 2
 (Spouse If, filing)      First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                             0    Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

      LI      Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
      El      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                                Dates Debtor I              Debtur             Address:'                       Dates,i:9,44tct
                                                                 lived there                                                                    irsowttiOCREL„
        2388 Via Mariposa W Unit 3F                              From-To:                    0 Same as Debtor
        Laguna Woods, CA 92637                                   2018-August 2021



3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

      0       No
      LEI     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2        Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      El No
      21 Yes. Fill in the details.



                                                   Sources of income                 Gross income                  Sources of income            Gross  income
                                                                                              du
                                                   Cff cX alL that pply.                                  and      Gheokaii    t' ply                   deduction
                                                                                    exclusions)                                                  and cxci   ns)
 From January 1 of current year until              121 Wages, commissions,                        $2,400.00         0 Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                    bonuses, tips
                                                   0 Operating a business                                           o Operating a business


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1896-2022 Best Case, LLC - www.bestcase.com
                                                                                                                                                      Best Case Bankruptcy
             Case 8:22-bk-11512-TA                           Doc 1 Filed 08/31/22 Entered 08/31/22 19:28:35                                  Desc
 Debtor 1      Jenny Junq Lee                                Main Document    Page 30 of 47number (/fknown)
                                                                                      Case




 For last calendar year:                           E Wages, commissions,                         $12,692.00        0 Wages, commissions,
 (January Ito December 31, 2021 )                  bonuses, tips                                                   bonuses, tips
                                                   0 Operating a business                                          0 Operating a business

 For the calendar year before that:                El Wages, commissions,                        $22,274.00        ID Wages, commissions,
 (January Ito December 31, 2020)                   bonuses, tips                                                   bonuses, tips
                                                   0 Operating a business                                          0 Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      0      No
      [g]    Yes. Fill in the details.


                                                                                    1!Gross
                                                                                     each aurce                    Deacnbe below            (before deduction,
                                                                                     before deductions nd                                   and exclusions)

 For last calendar year:                           Unemployment                                  $15,876.00
 (January Ito December 31, 2021 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor l's or Debtor 2's debts primarily consumer debts?
      •    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                 individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,5755 or more?
                     O No.      Go to line 7.
                     O Yes      List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Aso, do
                                not include payments to an attorney for this bankruptcy case.
                     *Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
      1:31   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     El No.        Go to line 7.
                     O Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


                                                                                              tilm#011 .00k
                                                                                                       paid




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 2
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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

      El    No
      El    Yes. List all payments to an insider.
                                                                                                                                                      men            Total amount          Amount you       Reason for this payment
                                                                                                                                                                             paid           ( stilt owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      El     No
      CI     Yes. List all payments to an insider
            MersNameandAddniss                                                                                                         Dates of payment                        aunt        AMOWTYPPA        Reason for this payment
                                                                                                                                                                               pi*              still owe   Include Creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      12     No
      O      Yes. Fill in the details.
      ,pa     1191                                                                                                                    Jitletuntot;ythe case          Court or ag


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      El    No. Go to line 11.
      O     Yes. Fill in the information below.




11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
    [E] No
    O Yes. Fill in the details.
                            :OttAtt0190                                                                                                                            creditor took                                                   Amount;
                                                                                       ••••
                                                                                                  ••
                                                                                                                 •••••••
                                                                                                                           •
                                  ,II
                                        .•
                                                          1..
                             •,•,.••
                                             •
                                                 .•••••
                                                                    ••••••••••••••••
                                                                                                                           •
                                                                    ••
                                                                                              •
                                                                                                  ••••••••••••
                                        •,
                                                                "
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    El No
    O Yes. Fill in the details for each gift.




                       ,born:you




Official Form 107                                                                                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    El No
    O Yes. Fill in the details for each gift or contribution.
       Gifts or contributions           h rift
       more than
       Charity's Name
       Address (Number,

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

      21 No
      O Yes. Fill in the details.
       Describe the property you lost and                           lbeafiyii
       how the loss occurred
                                                                                              a has Paid.
                                                           AnSiRShSloil:5.:35411.6wmp         ilednie NO:P perty.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      O No
      CO Yes. Fill in the details.
       PeniaWWho WasPala                                              Description and value of any property                  Date payment               Aittollatifiali!
       Add                                                                                                                    r transfer was
      :EMPftor website:Odle:SS                                                                                               made
       Person Who          the Payment. .14 'Ton
       Karine Karadjian, PC                                           $1250 + $338 court filing fee                          August 2022                $1,588.00
       14640 Victory Blvd. #221
       Van Nuys, CA 91411
       karine@kelawfirm.com



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      El  No
      El  Yes. Fill in the details.
       Person Who• Was p                                              Description and                 Praf:tartY                                        AMount af
       Address                                                        transferred                                                                        payment


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
    El No
    O Yes. Fill in the details.
       Person          Received Trans                                    senlftlen and value 0                 Describe any property or
       Atldr                                                                                                   payments received or debts
                                                                                                               paid in exchange
      :Person's relationshipto you                                                                                             ,

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
    21 No
    O Yes. Fill in the details.
       Name of tr                                                                                    property transferred                       Date Transfer was
               .]
                                                                                                                                               :Medal



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 4
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    Part 8:      List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
    2 No
    O Yes. Fill in the details.
                                                                                                           .    .
     Name of Financial Ii                                                                            e account, a                   st balance
     Address (Number, Str.e                                                                           ed, Sold,                     closing or
        :iP-004)1!!!r."'
                                                                                                                        trans

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

        LSI    No
        O      Yes. Fill in the details.
         Name of             institution                             Who else had a                                             ty&iytiu,•&tio
         Address (Number. Stre t, City State and ZIP                 Address (Numeo, air                                         have it?
                                                                     SfataandiffiCcde)

22. Have you stored property In a storage unit or place other than your home within 1 year before you filed for bankruptcy?

        21     No
        O      Yes. Fill in the details.
        , Name of Storage Facility '                                                  s or had ac                                0 YOU
          Address (Number. Street.pitv, s                                                                                       have
                                                                     Address (Numfear, Sire
                                                                     Stale and ZIP Code)(

    Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

        •      No
        O      Yes. Fill in the details.
         Owner's Name                                                Where is the property'
         Address (Number,         t.1 m.970-                         (Nunb..r, streel. city. State at
                                                                     Codel

    Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

•  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
   toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
   regulations controlling the cleanup of these substances, wastes, or material.
•  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
   to own, operate, or utilize it, including disposal sites.
al Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
   hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

        21     No
        O      Yes. Fill in the details.
        Name of site                                                 Governmental unit                          Environment
        Address                                                      Address (Number, Street, City, State and   ItnOW It
                                                                     ZIP coo)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                  page 5
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25. Have you notified any governmental unit of any release of hazardous material?

       Eg    No
       ID    Yes. Fill in the details.
       .Nam.
       Addres,                                                      Address(Nunties,Stri,
          , .                                                       ZIP Cotlig

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      El     No
      ▪      Yes. Fill in the details.



                                                                    Address (Numberi
                                                                    $tainriij ZW6ects)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            El A member of a limited liability company (LLC) or limited liability partnership (LLP)
            o A partner in a partnership
                An officer, director, or managing executive of a corporation
             0 An owner of at least 5% of the voting or equity securities of a corporation
      El    No. None of the above applies. Go to Part 12.
       O     Yes. Check all that apply above and fill in the details below for each business.
        Business N                                                                                               Employer IdeA
        Addre                                                                                                    Do not include

                                                                                                                 Dates,bu
28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

      E     No
      O     Yes. Fill in the details below.
        Name
      'Addeo
       :eiessieeSs

 Part 12:     Sign Below

I have read the answers on this Statement ofFinancial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a                       rtsult in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C.                         3571.


 Jenny Jung Lee                                                         Signature of Debtor 2
 Signature of Debtor 1

 Date          0313/19-a.2.2_                                           Date

Did you attach additional pages to Your Statement ofFinancial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
El No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
El No
D Yes. Name of Person         . Attach the Bankruptcy Petition Preparers Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 6
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 Fill in this information to identify your case:

 Debtor 1                  Jenny Jung Lee
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 Of known)                                                                                                                   0    Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                      12/15


If you are an individual filing under chapter 7, you must fill out this form if:
to  creditors have claims secured by your property, or
ig you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
           whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
           on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 P-rt 1:       List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.




     Creditor's        Toyota Motor Credit                                IE Surrender the property.                        0 No
     name:                                                                    Retain the property and redeem it
                                                                          LE Retain the property and enter into a           El Yes
     Description of       2017 Toyota Prius 114000 miles                     Reaffirmation Agreement
     property                                                                Retain the property and [explain]:
     securing debt:                                                        Retain and pay pursuant to contract

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).




 Lessor's name:                                                                                                         0   No
 Description of leased
 Property:                                                                                                              El Yes

 Lessor's name:                                                                                                         O No
 Description of leased
 Property:                                                                                                              El Yes

 Lessor's name:                                                                                                         El No
 Description of leased
 Property:                                                                                                              o   Yes


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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  Debtor 1      Jenny Jung Lee                                                                        Case number (ifknown)



  Lessor's name:                                                                                                              O No
  Description of leased
  Property:                                                                                                                   El Yes

  Lessor's name:                                                                                                              O No
  Description of leased
  Property:                                                                                                                   O   Yes

  Lessor's name:                                                                                                              O No
  Description of leased
  Property:                                                                                                                   O   Yes

  Lessor's name:                                                                                                              El No
  Description of leased
  Property:                                                                                                                   O   Yes

  Part 3:      Sign Below

 Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
 property that is subject toantflflptce4l lease.

  X                                                                                  X
        Jenny Jung Lee                                                                   Signature of Debtor 2
        Signature of Debtor 1

        Date                       94,2a                                             Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                         Chapter 7:            Liquidation
 This notice is for you if:
                                                                                                 $245      filing fee
         You are an individual filing for bankruptcy,
         and                                                                                      $78      administrative fee

         Your debts are primarily consumer debts.                                                 $15      trustee surcharge
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as "incurred by an individual                                                  $338      total fee
         primarily for a personal, family, or
         household purpose."                                                             Chapter 7 is for individuals who have financial
                                                                                         difficulty preventing them from paying their debts
                                                                                         and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                           property to be used to pay their creditors. The
 individuals                                                                             primary purpose of filing under chapter 7 is to have
                                                                                         your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                  relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                      many of your pre-bankruptcy debts. Exceptions exist
                                                                                         for particular debts, and liens on property may still
         Chapter 7- Liquidation                                                          be enforced after discharge. For example, a creditor
                                                                                         may have the right to foreclose a home mortgage or
         Chapter 11 - Reorganization                                                     repossess an automobile.

         Chapter 12- Voluntary repayment plan                                            However, if the court finds that you have committed
                   for family farmers or                                                 certain kinds of improper conduct described in the
                   fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                         discharge.
         Chapter 13- Voluntary repayment plan
                   for individuals with regular                                          You should know that even if you file chapter 7 and
                   income                                                                you receive a discharge, some debts are not
                                                                                         discharged under the law. Therefore, you may still
                                                                                         be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                           most taxes;
 chapter.
                                                                                             most student loans;

                                                                                            domestic support and property settlement
                                                                                            obligations;




Notice Required by 11 U.S.C. §342(b) for Individuals Filing for Bankruptcy (Form 2010)
                                                                                                                                             gage 1
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         most fines, penalties, forfeitures, and criminal                                your income is more than the median income for your
         restitution obligations; and                                                    state of residence and family size, depending on the
                                                                                         results of the Means Test, the U.S. trustee, bankruptcy
         certain debts that are not listed in your bankruptcy                            administrator, or creditors can file a motion to dismiss
         papers.                                                                         your case under § 707(b) of the Bankruptcy Code. If a
                                                                                         motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                     be dismissed. To avoid dismissal, you may choose to
                                                                                         proceed under another chapter of the Bankruptcy
         fraud or theft;                                                                 Code.

         fraud or defalcation while acting in breach of                                  If you are an individual filing for chapter 7 bankruptcy,
         fiduciary capacity;                                                             the trustee may sell your property to pay your debts,
                                                                                         subject to your right to exempt the property or a portion
         intentional injuries that you inflicted; and                                    of the proceeds from the sale of the property. The
                                                                                         property, and the proceeds from property that your
         death or personal injury caused by operating a                                  bankruptcy trustee sells or liquidates that you are
         motor vehicle, vessel, or aircraft while intoxicated                            entitled to, is called exempt property. Exemptions may
         from alcohol or drugs.                                                          enable you to keep your home, a car, clothing, and
                                                                                         household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                   the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                      Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                       you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A-1) if you are an                                     as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                  property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                     proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                 Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A-2).
                                                                                                     $1,167      filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                                      $571      administrative fee
 Calculation (Official Form 122A-2). The calculations on
 the form— sometimes called the Means Test—deduct                                                    $1,738      total fee
 from your income living expenses and payments on
 certain debts to determine any amount available to pay                                  Chapter 11 is often used for reorganizing a business,
 unsecured creditors. If                                                                 but is also available to individuals. The provisions of
                                                                                         chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C.§ 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2
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         Read These Im ortant Warnin s

              Because bankruptcy can have serious long-term financial and legal consequences, including loss of
              your property, you should hire an attorney and carefully consider all of your options before you file.
              Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
              and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
              properly and protect you, your family, your home, and your possessions.

              Although the law allows you to represent yourself in bankruptcy court, you should understand that
              many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
              or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
              following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

              Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
              bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
              fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
              20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                    $200          filing fee                                              years or 5 years, depending on your income and other
                     $78          administrative fee                                      factors.
                    $278          total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235           filing fee                                                     debts for fraud or defalcation while acting in a
                    $78           administrative fee                                             fiduciary capacity,
                   $313           total fee
                                                                                                most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                            certain debts that are not listed in your
 installments over a period of time and to discharge                                            bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                        certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                   personal injury, and

                                                                                                certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          pages
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                                                                                         A married couple may file a bankruptcy case
                                                                                         together—called a joint case. If you file a joint case and
                                                                                         each spouse lists the same mailing address on the
                                                                                         bankruptcy petition, the bankruptcy court generally will
                                                                                         mail you and your spouse one copy of each notice,
                                                                                         unless you file a statement with the court asking that
                                                                                         each spouse receive separate copies.

                                                                                         Understand which services you could receive from
                                                                                         credit counseling agencies

                                                                                         The law generally requires that you receive a credit
                                                                                         counseling briefing from an approved credit counseling
                                                                                         agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                         case, both spouses must receive the briefing. With
                                                                                         limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                             days before you file your bankruptcy petition. This
                                                                                         briefing is usually conducted by telephone or on the
         If you knowingly and fraudulently conceal assets                                Internet.
         or make a false oath or statement under penalty of
         perjury—either orally or in writing—in connection                               In addition, after filing a bankruptcy case, you generally
         with a bankruptcy case, you may be fined,                                       must complete a financial management instructional
         imprisoned, or both.                                                            course before you can receive a discharge. If you are
                                                                                         filing a joint case, both spouses must complete the
         All information you supply in connection with a                                 course.
         bankruptcy case is subject to examination by the
         Attorney General acting through the Office of the                               You can obtain the list of agencies approved to provide
         U.S. Trustee, the Office of the U.S. Attorney, and                              both the briefing and the instructional course from:
         other offices and employees of the U.S.                                         http://www.uscourts.00v/services-forms/bankruptcy/cre
         Department of Justice.                                                          dit-counselino-and-debtor-education-courses.

 Make sure the court has your mailing address                                            In Alabama and North Carolina, go to:
                                                                                         http://www.uscourts.ciov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                       dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                    If you do not have access to a computer, the clerk of
 that you receive information about your case,                                           the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                 the list
 of any changes in your address.




Notice Required by 11 U.S.C.§ 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 4
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B2030 (Form 2030) (12/15)                                    Main Document         Page 41 of 47
                                                              United States Bankruptcy Court
                                                                  Central District of California
  Tare       Jenny Jung Lee                                                                                 Case No.
                                                                             Debtor(s)                      Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that! am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                                      1,250.00
             Prior to the filing of this statement I have received                                      S                     1,250.00
             Balance Due                                                                                                         0.00

2.     The source of the compensation paid to me was:
             EI Debtor              0     Other (specify):

3.     The source of compensation to be paid to me is:
             Cal   Debtor           0     Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

        0 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates ofmy law tinn. A copy
          of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                 agreements and applications as needed.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                      CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

                                                                                Ate
     Date                                                                      rifle KaradjiarI 283656
                                                                            Signature ofAttorney
                                                                            Karine Karadjian
                                                                            14640 Victory Blvd. #221
                                                                            Van Nuys, CA 91411
                                                                            (323) 426-8300 Fax: (323) 454-2933
                                                                            karine@kelawfirm.com
                                                                            Name of lawfirm




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 Fill in this information to identify your case:                                               Check one box only as directed in this form and in Form
                                                                                               122A-1Supp:
 Debtor 1              Jenny Jung Lee

 Debtor 2                                                                                        El 1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                  o 2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:       Central District of California                           applies will be made under Chapter 7 Means Test
                                                                                                        Calculation (Official Form 122A-2).
 Case number
 (If known)
                                                                                                  o 3. The Means Test does not apply now because of
                                                                                                        qualified military service but it could apply later.
                                                                                                  El Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known), If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement ofExemption from Presumption of Abuse Under § 707(6)(2) (Official Form 122A-1Supp) with this form.
 Part 1:          Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
     0 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     0 Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
       0 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
          penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
          apart for reasons that do not include evading the Means Test requirements. 11 U.S.0 §707(b)(7)(B).
                                                                                      rinAetft




  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                                     400.17       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                                      0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                                                    0.00      $
  5. Net income from operating a business, profession, or farm

       Gross receipts (before all deductions)                        $      0.00
        Ordinary and necessary operating expenses                   -$      0.00
     Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                  0.00      $
  6. Net income from rental and other real property


       Gross receipts (before all deductions)
       Ordinary and necessary operating expenses
       Net monthly income from rental or other real property                0.00 Copy here -> $                  0.00
  7. Interest, dividends, and royalties                                                                          0.00




Official Form 122A-1                                       Chapter 7 Statement of Your Current Monthly Income                                            page 1
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  Debtor 1       Jenny Jung Lee                                                                              Case number (if known)




   8. Unemployment compensation                                                                                             0.00      $
        Do not enter the amount if you contend that the amount received was a benefit under
        the Social Security Act. Instead, list it here:
             For you                                                                          0.00
          For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act. Also, except as stated in the next sentence, do
       not include any compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability,
       or death of a member of the uniformed services. If you received any retired pay paid
       under chapter 61 of title 101 then include that pay only to the extent that it does not
       exceed the amount of retired pay to which you would otherwise be entitled if retired
       under any provision of title 10 other than chapter 61 of that title.                                                0.00       $
   10. Income from all other sources not listed above. Specify the source and amount
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability,
       or death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below..
                                                                                                                           0.00       $
                                                                                                                           0.00       $
                   Total amounts from separate pages, if any.                                            $                 0.00       $

   11. Calculate your total current monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.                                            +
                                                                                                          400.17                                     $        400.17

                                                                                                                                                     Total current monthly
                                                                                                                                                     Income
 Part 2           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:

        12a. Copy your total current monthly income from line 11                                                  Copy line 11 here>                          400.17

              Multiply by 12 (the number of months in a year)                                                                                         x 12
       12b. The result is your annual income for this part of the form                                                                    12b.              4,802.04

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                       CA

       Fill in the number of people in your household.                             1
       Fill in the median family income for your state and size of household.                                                  is.               $        65,895.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for
       this form. This list may also be available at the bankruptcy clerk's office.
  14. How do the lines compare?
      14a. 21 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                 Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.  J    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                 Go to Part 3 and fill out Form 122A-2.
 Par 3:    Sign Below
              By signing here<, I C     j —ij                  of perjury that the information on this statement and in any attachments is true and correct.

             X
                  Jenny Jung Lee
                  Signature of D
                               7 btor 1
        Date           08/3/       a0,02.

Official Form 12241                                        Chapter 7 Statement of Your Current Monthly Income                                                      page 2
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                                                                                                                                                          Best Case Bankruptcy
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 Debtor 1    Jenny Jung Lee                                                                      Case number (If known)

                MM/DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line Mb, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                        page 3
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 Debtor 1    Jenny Jung Lee                                                                    Case number Of known)



                                                 Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 02/01/2022 to 07/31/2022.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Wages
Income by Month:
 6 Months Ago:                       02/2022                  $0.00
 5 Months Ago:                       03/2022                  $0.00
 4 Months Ago:                       04/2022                  $0.00
 3 Months Ago:                       05/2022                  $0.00
 2 Months Ago:                       06/2022                  $0.00
 Last Month:                         07/2022              $2,401.00
                        Average per month:                  $400.17




Official Form 122A-1                                   Chapter 7 Statement of Your Current Monthly Income                       page 4
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 Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
 State Bar No. & Email Address
 Karine Karadjian 283656
 14640 Victory Blvd. #221
 Van Nuys, CA 91411
 (323) 426-8300 Fax: (323) 454-2933
 California State Bar Number: 283656 CA
 karine@kelawfirm.com




 o    Debtor(s) appearing without an attorney
      Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

 In re:
                                                                                  CASE NO.:
            Jenny Jung Lee
                                                                                  CHAPTER: 7




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 1 sheet(s) is complete, correct, and consistent
with the Debtor's schedules and I/we assume all responsibility for errors and ojpi

Date:
                                                                                         Signature o

Date:
                                                                                         Signat/of Debtor
                                                                                                       ,.... 2 (pint debtor) (if applicable)

Date:      029307_,002)_                                                                       -fret"
                                                                                         Sigilature of Attorney for Debt                  if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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                          Capital One Bank USA NA
                          PO Box 31293
                          Salt Lake City, UT 84131


                          Capital One Bank USA NA
                          PO Box 31293
                          Salt Lake City, UT 84131


                          Freedom Road Financial
                          10509 Professional Cir 4100
                          Reno, NV 89521


                          Mechanics Bank FKA CRB
                          1400 Newport Center Drive Suite 150
                          Newport Beach, CA 92660


                          Toyota Motor Credit
                          2600 Michelson Dr
                          Irvine, CA 92612
